
In re: Eddie Knoll, District Attorney, Parish of Avoyelles applying for Writs of Certiorari, Prohibition and Mandamus.
Granted. (See Order.)
The petition of the relator in the above entitled and numbered case having been duly considered,
It is ordered that a writ of certiorari issue herein, directing the Honorable Earl Edwards, Judge of the Twelfth Judicial District Court for the Parish of Avoyelles, to transmit to the Supreme Court of Louisiana, on or before the 10th day of November, 1975, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator herein, to the end that the validity of said proceedings may be ascertained.
It is further ordered that the aforesaid Judge of said Court and the respondent through counsel shall show cause, in this court, on the 23rd day of January, 1976, at 10 o’clock A.M., why the relief prayed for in the petition of the relator should not be granted.
